                  EXHIBIT G
UNITED STATES’ OPPOSITION TO PETITIONER MARIE NEBA’S
          MOTION FOR EVIDENTIARY HEARING
                     April 13, 2020
Case 9:19-cr-80055-WPD Document 52 Entered on FLSD Docket 04/01/2020 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                            CASE NO. 19-80055-CR-DIMITROULEAS

         Plaintiff,

  vs.

  RAYMOND SHORES,

        Defendant.
  _____________________________________/

                                              ORDER

         THIS CAUSE is before the Court on Defendant’s March 30, 2020 Emergency Motion for

  Compassionate Release [DE-49]. The Court received an expedited response from the

  Government on April 1, 2020 [DE-51]. The Court has reviewed the Court file and Pre-Sentence

  Investigation Report and has presided over this cause. The Court agrees with the Government’s

  response. Shores has not exhausted his administrative remedies. Defendant must wait until

  either the Warden denies his request or 30 days after the Warden’s inaction following the receipt

  of Shores’ request, to file a motion under the First Step Act. The mere existence of Covid-19 in

  the Bureau of Prisons, or even in the prison where the Defendant is housed, would not constitute

  an emergency warranting the reduction of the waiting period from thirty (30) to three (3) days for

  the Warden to act. Indeed, a Defendant’s testing positive for Covid-19 may not even qualify for

  such an expedited review.

         The Court has again considered the factors in 18 U.S.C. ' 3553(a) and the applicable

  policy statements from the Sentencing Guidelines Commission. Even if the Warden had denied

  the request or if 30 days had elapsed, this Court would not find that serving a little over two (2)

  months of an eighty (80) month sentence would justify a reduction under the facts of this case. It
Case 9:19-cr-80055-WPD Document 52 Entered on FLSD Docket 04/01/2020 Page 2 of 2



  does not act as a deterrent; it does not promote respect for the law. No extraordinary and

  compelling reasons have been offered to warrant such a reduction.

         The Emergency Motion for Compassionate Release [DE-49] is Dismissed; alternatively,

  it is Denied on the merits.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  1st day of April, 2020.




  Copies furnished to:

  Counsel of Record
